UNITED STATES BANKRUPTCY COURT

 

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FOR. THE DISTRICT OF OREGON
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OBJECTION OF ROBERT OMEA
TO
MOTION FOR RULE 2004 EXAM

rn re l ease NO. 17-63572-rmb7

Robert George G’Mea, TRUSTEE’s MOTION FOR
F`RBP 2004 Examination
Dehtor

Roberi; George O’Mea objects to the Trustee’s Motion for Rule 2004 Examination. rl`he Trustee’S failure
to disciose the fact that the requested information is in their possession eliminates any further need for a
Rule 2004 Examination. The sole motivation is to produce more trustee billabie expenses Whiie the
Court has Wide latitude to authorize examinations under Rule 2004, the right to conduct Rule 2004
examinations is not uniirnited, particularly Where, as here, the request appears to have as much to do
With litigation tactics and illegal enrichment of the trustee and finally violation of Fiduciary Duties to
the debtor’s estate and unnamed family members as anything else. The Court should deny the

Trustee’s latest request

FACTS

The case vvas filed on November 22, 2017 (The “Petition Date”) (Robert George O’Mea) filed tile
voluntary bankruptcy petition under chapter 7 Title ll through his council at the time Kevin Rankin. Mr.
Rank failed in his duties to provide me with any information of appointment or motions made by Vanessa
Pancic. This violated the Federal rules for B`ankruptcy and is prima facia reason to dismiss the trustee and
the trustees request for Rule 2004 Examination.

.On 8/28/2018 without proper notice the trustee filed for a FRBP 2004 Examination. The trustee is
already in possession of all information requested, (exhibitl) The trustees attorney Holly Hayman is
actively trying to blackmail me having stated that: “Unless you sign over all your rights to your 10,000.00
share of the PLF settlement We-Will take your 10,000.00 and your wife’s (separate and Wholly 1
unencumbered portion of the settlement in the amount of 13,500.00.(exhibit 2) The Trustee’s failure to
lillly disclose the extent of the information already obtained on these issues is reason enough to deny
the Trustee’s motion.” |n its broadest sense, 2004 examinations are referred to as a ”fishing
expedition". Bennett Funding Group, 203 B.R. at 28. Rule 2004 examinations are not intended to be
abusive, but instead provide opportunities for ”discovering assets, examining transactions and
determining Wbether wrongdoing has occurred.” Washington E\/lutuai, 408 B.R. at 50, citing in re Enron
L|:L, 281 B.R. 836, 840 (Barii<i’. S.D. N.Y. 2002).

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Conclusion For all the reasons set forth herein, the Debtor respectfully request that the Court (a) deny
the iV|otion and (b} grant the Debtors such other and further relief as the Court may deem proper.

espec£f§submitted,

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orge O’H%§ §`-' in i`» '\.
_ \\

Debtor \\

  
  

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LAW 0F1=1c1~;s or
` ' RANK & ASSOCIATES, P.C.

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Kevin J. Rank, Attorney at Law Jennifer Rank, legal Assistant
james J. MacAfee, Attorney at law (Of Counsel) Amelia Manu, Legal Assistant

April 18, 2018

lvlr. Robert O’Mea
1050 Norway St. NE
Salem, OR 97301

RE: April 17, 2018 - In Office Meeting
Dear Robert: '

‘ This letter ls a follow up to our meeting in my office yesterday morning l_n our meeting we
discussed the various settlements on your case. l explained that your P_LF claim against `
Wheeler is currently held by the Chapter 7 Trustee. However, your wife’ s claim is not We
obtained for your wife Linda $13,500 l believe that is a good oHer and I also believe that the
PLF will hold Linda to it if you try to rescind your agreement

The Kruger settlement as proposed by the trustee would result in you receiving $10,000 and
the estate receiving $10,000. You indicated that you will not agree to any settlement unless
you receive at least $15,000. l think it is a mistake not to accept the offer; however, it is your
case and you have the final and only say. l intend to contact Ms Hayman, the trustee’s
attorney, and relay your final offer. If the estate rejects that final offer, then according to Ms
l-Iayman’s e_mail they will drop the Kruger matter and will not pursue any carve out for you or
the estate. If this were to occur, you Would not receive any money H‘om the Kruger settlement
as there would be no settlement Thee trustee indicated that she would abandon the Kruger
Settlement money and you would then be allowed to contest the liens against that settlement
The trustee believes those are valid liens

Fmaliy, if our final offer is rejected you had indicated thatl you wish to have the case dismissed
and you wish to obtain other council to accomplish that task. l do not believe that dismissal of
your case is in your own best mteres_t; however, you can take whatever action you deem best
for you. You indicated that you were going to seek other counsel to continue representation of
you in this matter. You have requested that l withdraw from your case if this settlement is not
agreed to, at which l point l indicated that l would.

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April 18, 2 018

Mr. Robert O’Mea

RE: April l'?, 2018 ln office Meeting
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Please advise at your earlies convenience if anything in this letter does not coincide With your
recollection of the events

Kind personal regards,

 

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_RANK & ASSOCIATES, P.C.

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UN|TED STATES BANKRUPTCY COURT

DlSTRlCT OF OREGON

ln re

Robert George O'Mea Case No. 17-63572-tmb7

|VlOTlON AND NOTlCE OF lNTENT
TO SETTLE AND CON|PROM|SE,
AND ORDER THEREON

D'ebtor(s)

The undersigned trustee, Vane$a loanch , moves to settle and compromise
the following described dispute upon the following terms:

On or about January 13, 2017, Robert O'Mea (the "Del)tor") and Linda O'Mea, his non-debtor spouse, filed a
complaint alleging legal malpractice in Clackamas County Circuit Court under Case No. 17cv01623 (the
"Malpractice Suit") against attorney J. Andrew Keeler ("Keeler"). Keeler represented the O'Meas in actions
against their former landlords Todd and Melissa Jones. Beginn§ng in approximately 2014, Keeler represented the
O'Meas in several landlordltenant disputes, including matters brought in l\llarion County Court Case Nos.
13023652 and 1SCV1547, and in Washington County Circuit Court Case No. 015113OCV (together, the
"Landlorleenant Suits"). During the course of Keeler's representation, the O'Meas' claims were dismissed by
the court with preiudice. Thereafter, the O'N'|eas jointly filed the Nla|practice Suit. The Oregon State Bar
Professiona| Liatiility Fund (the "PLF"), through its counse|, represents Keeler in the llllalpractice Suit.

On November 22, 2017, the Debtor filed his voluntary bankruptcy petition and supporting documents The Debtor
did not disclose the Malpractice Suit or his claims against Keeler in the schedules and did not claim an
exemption in the same. The Debtor’s interest in the Nla|practice Suit and his claims against Keeler are property of

the bankruptcy estate.

To avoid the time, expense, and uncertainty involved in litigating the factually-intense malpractice issues and
determining the extent of estate's interest in the O'N|eas‘ joint claims against Keeler, the Trustee proposes the
following The Trustee, the Debtor, Linda O‘Mea, Keeler, and the PLF have reached agreements to resolve their
dispute fully and completely The Trustee and the PLF have agreed that in exchange for the Trustee's release of
all claims against Keeler, including but not limited to the Malpractice and Landlorleenant Suits, the PLF shall

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tender a'ssettiement payment in the amount of $10,600 to the Trustee (the "Settiement Payment"). Linda O'Nlea
has agreed to settle her interests in the claims against Keeter and the Nla|practice Suit with the PLF
concurrently with this agreement and will execute a separate settlement agreement Linda O'Nlea's interests in
these claims are not property of the Debtor's bankruptcy estate and her settlement of such claims need not be
noticed to creditors in this case.

The Debtor and the Trustee have agreed that the Settlement Payment shall benefit the bankruptcy estate and
the Bebtor's creditors. "¥`he Debtor will not claim an exemption in the Settlement Payrnent.

The parties have also agreed that this Court shall have jurisdiction to enforce the terms of the settlement ln
the event litigation or similar proceedings are necessary to enforce the terms of this settlement, fees and
costs shall be awarded to the prevailing party,

The Trustee believes in her business judgment that the proposed settlement is in the best interest of the
bankruptcy estate. lf the Trustee were to litigate this matter, the costs associated with such litigation Would
likely consume a significant amount of any recovery.

CONF|RMAT|ON OF TERMS

IVIY CLIENT HAS CONF|RMED lN WR|T|NG THAT HE UNDERSTANDS AND AGREES TO THE TERMS OF THIS
SETTLEMENT AGREENIENT AND HAS AUTHORIZED ME TO EXECUTE TH|S AGREEMENT O_N i-llS BEHALF.

lsi Date:

 

Kevin Rank, counsel for Robert O'l\llea

###

DATE:

 

Trustee

Servlce Address:

 

 

Name of Attorney for Trustee:

 

Servlce Address:

 

 

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